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                               UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF OHIO
                                    WESTERN DIVISION

Jerry Isham, et al.                             :

                 Plaintiffs,                    :    Case No. 1:19cv577

v.                                              :    Judge Michael R. Barrett

City of Cincinnati, et al.                      :    NOTICE OF DISMISSAL WITH
                                                     PREJUDICE
                 Defendants.                    :

                                                :

        Come now the Plaintiffs, Jerry Isham and Anthony Edwards, by and through undersigned

counsel and, pursuant to Fed.R. 41, hereby tender this Notice of Dismissal, with prejudice, of all

claims herein.



                                                    Respectfully submitted,

                                                     /s/ Christopher P. Finney
                                                    Christopher P. Finney
                                                    Brian C. Shrive
                                                    Finney Law Firm LLC
                                                    4270 Ivy Pointe Blvd., Suite 225
                                                    Cincinnati, OH 45245
                                                    (513) 943-6650
                                                    chris@finneylawfirm.com
                                                    brian@finneylawfirm.com
